                     Case 2:10-cr-00501-GEB Document 97 Filed 08/09/12 Page 1 of 7
AO 245B-CAED (Rev. 09/2011) Sheet 1 - Judgment in a Criminal Case


                                   United States District Court
                                           Eastern District of California

          UNITED STATES OF AMERICA                                      JUDGMENT IN A CRIMINAL CASE
                     v.                                                 (For Offenses Committed On or After November 1, 1987)
          JAVIER HERNANDEZ-LOPEZ                                        Case Number: 2:10CR00501-02


                                                                        Gilbert Roque
                                                                        Defendant’s Attorney

THE DEFENDANT:
[U]      pleaded guilty to count(s): Count 6 of the Indictm ent .
[]       pleaded nolo contendere to counts(s)        which was accepted by the court.
[]       was found guilty on count(s)     after a plea of not guilty.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense(s):
                                                                                           Date Offense               Count
Title & Section                     Nature of Offense                                      Concluded                  Num ber(s)
18 USC 1028(a)(2)                   Transfer of False Identification Docum ents            9/14/10                    6
                                    Class C Felony
18 USC 982(a)(2)(B) and             Crim inal Forfeiture
(a)(6), and 18 USC 1028(b)(5)


       The defendant is sentenced as provided in pages 2 through 7 of this judgm ent. The sentence is im posed
pursuant to the Sentencing Reform Act of 1984.

[]       The defendant has been found not guilty on counts(s)            and is discharged as to such count(s).

[]       Count(s)      (is)(are) dism issed on the m otion of the United States.

[]       Indictm ent is to be dism issed by District Court on m otion of the United States.

[]       Appeal rights given.                         [U]       Appeal rights waived.

        IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30
days of any change of nam e, residence, or m ailing address until all fines, restitution, costs, and special assessm ents
im posed by this judgm ent are fully paid. If ordered to pay restitution, the defendant m ust notify the court and United States
attorney of m aterial changes in econom ic circum stances.

                                                                                              8/3/12
                                                                Date of Im position of Judgm ent




                                                                                                           GARLAND E.
                                                                                                           BURRELL, JR.,
                                                                                                           Senior U. S. District
                                                                                                           Judge
                                                                       Nam e & Title of Judicial Officer

                                                                       8/9/12
                                                                       Date
                    Case 2:10-cr-00501-GEB Document 97 Filed 08/09/12 Page 2 of 7
AO 245B-CAED (Rev. 09/2011) Sheet 2 - Imprisonment
CASE NUMBER:              2:10CR00501-02                                                        Judgment - Page 2 of 7
DEFENDANT:                JAVIER HERNANDEZ-LOPEZ


                                                                          IMPRISONMENT
                                                     The defendant is hereby com m itted to the custody of the
                                                     United States Bureau of Prisons to be im prisoned for a total
                                                     term of 84 m onths .

                                                     To be served concurrently with term in 2:10CR00499.

                                                     The defendant shall cooperate in the collection of DNA.

                                                     [U]        The court m akes the following recom m endations to
                                                                the Bureau of Prisons:
                                                                The Court recom m ends that the defendant be
                                                                incarcerated at the facility located at Atwater,
                                                                California or Herlong, California, but only insofar as
                                                                this accords with security classification and space
                                                                availability. The Court recom m ends the defendant
                                                                participate in the 500-Hour Bureau of Prisons
                                                                Substance Abuse Treatm ent Program .


                                                     [U]        The defendant is rem anded to the custody of the
                                                                United States Marshal.


                                                     []         The defendant shall surrender to the United States
                                                                Marshal for this district.
                                                                [ ] at     on     .
                                                                [ ] as notified by the United States Marshal.


                                                     []         The defendant shall surrender for service of
                                                                sentence at the institution designated by the Bureau
                                                                of Prisons:
                                                                [ ] before on        .
                                                                [ ] as notified by the United States Marshal.
                                                                [ ] as notified by the Probation or Pretrial Services
                                                     Officer.
                                                             If no such institution has been designated, to the
                                                     United States Marshal for this district.
                    Case 2:10-cr-00501-GEB Document 97 Filed 08/09/12 Page 3 of 7
AO 245B-CAED (Rev. 09/2011) Sheet 2 - Imprisonment
CASE NUMBER:              2:10CR00501-02                                                         Judgment - Page 3 of 7
DEFENDANT:                JAVIER HERNANDEZ-LOPEZ


                                                                               RETURN
                                                     I have executed this judgment as follows:




                                                             Defendant delivered on                                       to


                                                     at                                          , with a certified copy of
                                                     this judgment.




                                                                                     UNITED STATES MARSHAL



                                                                         By
                                                                                         Deputy U.S. Marshal
                       Case 2:10-cr-00501-GEB Document 97 Filed 08/09/12 Page 4 of 7
AO 245B-CAED (Rev. 09/2011) Sheet 5 - Criminal Monetary Penalties
CASE NUMBER:                  2:10CR00501-02                                                                   Judgment - Page 4 of 7
DEFENDANT:                    JAVIER HERNANDEZ-LOPEZ


                                                                          CRIMINAL MONETARY PENALTIES
                                                                       The defendant m ust pay the total crim inal m onetary
                                                                    penalties under the Schedule of Paym ents on Sheet 6.

                                                                                                                  Assessm ent
                                                                          Fine                                     Restitution
                                                                          Totals:                                    $ 100
                                                                          $                                            $


                                                                    []    The determ ination of restitution is deferred until . An
                                                                          Amended Judgment in a Criminal Case (AO 245C) will
                                                                          be entered after such determ ination.

                                                                    []    The defendant m ust m ake restitution (including
                                                                          com m unity restitution) to the following payees in the
                                                                          am ount listed below.

                                                                          If the defendant m akes a partial paym ent, each payee
                                                                          shall receive an approxim ately proportioned paym ent,
                                                                          unless specified otherwise in the priority order or
                                                                          percentage paym ent colum n below. However, pursuant
                                                                          to 18 U.S.C. § 3664(i), all nonfederal victim s m ust be
                                                                          paid before the United States is paid.




                                                                    Name of Payee                                 Total Loss*
                                                                       Restitution Ordered                  Priority or Percentage


                                                                          TOTALS:                                      $
                                                                          $




                                                                    []    Restitution am ount ordered pursuant to plea agreem ent $


                                                                    []    The defendant m ust pay interest on restitution and a fine
                                                                          of m ore than $2,500, unless the restitution or fine is paid
                                                                          in full before the fifteenth day after the date of the
                                                                          judgm ent, pursuant to 18 U.S.C. § 3612(f). All of the
                                                                          paym ent options on Sheet 6 m ay be subject to penalties
                                                                          for delinquency and default, pursuant to 18 U.S.C. §
                                                                          3612(g).

                                                                    [ ]      The court determ ined that the defendant does not
                                                                             have the ability to pay interest and it is ordered that:

                                                                          [ ] The interest requirem ent is waived for the           []
                                                                                                                                    fine[


  ** Findings for the total am ount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses
com m itted on or after Septem ber 13, 1994, but before April 23, 1996.
                       Case 2:10-cr-00501-GEB Document 97 Filed 08/09/12 Page 5 of 7
AO 245B-CAED (Rev. 09/2011) Sheet 5 - Criminal Monetary Penalties
CASE NUMBER:                  2:10CR00501-02                                                                 Judgment - Page 5 of 7
DEFENDANT:                    JAVIER HERNANDEZ-LOPEZ

                                                                                                                                   ]
                                                                                                                                   resti
                                                                                                                                   tutio
                                                                                                                                   n

                                                                         [ ] The interest requirem ent for the          [ ] fine   []
                                                                                                                                   resti
                                                                                                                                   tutio
                                                                                                                                   n is
                                                                                                                                   mo
                                                                                                                                   difie
                                                                                                                                   d as
                                                                                                                                   follo
                                                                                                                                   ws:




                                                                    []   If incarcerated, paym ent of the fine is due during
                                                                         im prisonm ent at the rate of not less than $25 per quarter
                                                                         and paym ent shall be through the Bureau of Prisons
                                                                    Inm ate Financial Responsibility Program .

                                                                    []   If incarcerated, paym ent of restitution is due during
                                                                         im prisonm ent at the rate of not less than $25 per quarter
                                                                         and paym ent shall be through the Bureau of Prisons
                                                                    Inm ate Financial Responsibility Program .




  ** Findings for the total am ount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses
com m itted on or after Septem ber 13, 1994, but before April 23, 1996.
                      Case 2:10-cr-00501-GEB Document 97 Filed 08/09/12 Page 6 of 7
AO 245B-CAED (Rev. 09/2011) Sheet 6 - Schedule of Payments
CASE NUMBER:                 2:10CR00501-02                                                                       Judgment - Page 6 of 7
DEFENDANT:                   JAVIER HERNANDEZ-LOPEZ

                                                                                     SCHEDULE OF PAYMENTS


                                                                         Paym ent of the total fine and other crim inal m onetary
                                                                     penalties shall be due as follows:

                                                                     A   [ ] Lum p sum paym ent of $           due im m ediately, balance
                                                                     due

                                                                                []      not later than  , or
                                                                                []      in accordance with         [ ] C,    [ ] D,    []
                                                                                                                                       E,
                                                                                                                                       or [
                                                                                                                                       ]F
                                                                                                                                       belo
                                                                                                                                       w;
                                                                                                                                       or

                                                                     B    [U]           Paym ent to begin im m ediately (m ay be
                                                                                        com bined with [ ] C,    [ ] D, or [ ] F below);
                                                                                                                           or

                                                                     C    [ ] Paym ent in equal     (e.g., weekly, m onthly, quarterly)
                                                                              installm ents of $   over a period of     (e.g., m onths
                                                                              or years), to com m ence     (e.g., 30 or 60 days) after
                                                                              the date of this judgm ent; or

                                                                     D    [ ] Paym ent in equal     (e.g., weekly, m onthly, quarterly)
                                                                              installm ents of $   over a period of     (e.g., m onths
                                                                              or years), to com m ence     (e.g., 30 or 60 days) after
                                                                              release from im prisonm ent to a term of supervision; or

                                                                     E    [ ] Paym ent during the term of supervised release will
                                                                              com m ence within      (e.g., 30 or 60 days) after
                                                                              release from im prisonm ent. The court will set the
                                                                              paym ent plan based on an assessm ent of the
                                                                              defendant’s ability to pay at that tim e; or

                                                                     F    [ ] Special instructions regarding the paym ent of crim inal
                                                                              m onetary penalties:




                                                                     Unless the court has expressly ordered otherwise, if this
                                                                     judgm ent im poses im prisonm ent, paym ent of crim inal
                                                                     m onetary penalties is due during im prisonm ent. All crim inal
                                                                     m onetary penalties, except those paym ents m ade through the
                                                                     Federal Bureau of Prisons' Inm ate Financial Responsibility
                                                                     Program , are m ade to the clerk of the court.

                                                                     The defendant shall receive credit for all paym ents previously
                                                                     m ade toward any crim inal m onetary penalties im posed.


Paym ents shall be applied in the following order: (1) assessm ent; (2) restitution principal; (3) restitution interest, (4) fine
principal, (5) fine interest, (6) com m unity restitution, (7) penalties, and (8) costs, including costs of prosecution and court
costs.
                      Case 2:10-cr-00501-GEB Document 97 Filed 08/09/12 Page 7 of 7
AO 245B-CAED (Rev. 09/2011) Sheet 6 - Schedule of Payments
CASE NUMBER:                 2:10CR00501-02                                                           Judgment - Page 7 of 7
DEFENDANT:                   JAVIER HERNANDEZ-LOPEZ
                                                             []   Joint and Several

                                                             Defendant and Co-Defendant Nam es and Case Num bers
                                                             (including defendant num ber), Total Am ount, Joint and
                                                             Several Am ount, and corresponding payee, if appropriate:




                                                             []   The defendant shall pay the cost of prosecution.

                                                             []   The defendant shall pay the following court cost(s):

                                                             []   The defendant shall forfeit the defendant’s interest in the
                                                                  following property to the United States:

                                                             The preliminary order of forfeiture filed June 5, 2012,
                                                             shall be incorporated into this Judgment.
